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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION

Michael Chachere                        )
                                        )
                    Plaintiff,          )
                                        )
                  -vs-                  )
                                        )      (jury demand)
City of Chicago, Chicago Police         )
Officer Danielle Deering, #13716,       )
and Chicago Police Officer Cory         )
Junious, #18350,                        )
                                        )
                    Defendants.         )

                                 COMPLAINT
        Plaintiff, by counsel, alleges as follows:

        1.    This is a civil action arising under 42 U.S.C. § 1983. The

jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1343 and

1367.

        2.    At all times relevant, plaintiff Michael Chachere was a

resident of the Northern District of Illinois.

        3.    Defendant City of Chicago is an Illinois municipal corporation.

        4.    Defendants Chicago Police Officer Danielle Deering, #13716,

and Chicago Police Office Cory Junious, #18350, were at all times relevant

acting under color of their office as Chicago police officers.
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I. Claims Related to Arrest and Prosecution

      5.     On October 14, 2014, defendants Deering and Junious entered

plaintiff’s dwelling in the 7600 block of South Perry Avenue.

      6.     Defendants Deering and Junious did not have a warrant or

other lawful basis to enter plaintiff’s dwelling.

      7.     After entering plaintiff’s dwelling, Defendants Deering and

Junious conducted a search.

      8.     Defendants Deering and Junious claim to have found firearms

during the above described search.

      9.     Thereafter, defendants Deering and Junious arrested plaintiff

and caused him to be charged with the unlawful possession of firearms.

      10.    At the time they arrested plaintiff, neither defendant Deering

nor defendant Junious had observed plaintiff in actual or constructive

possession of any firearms and neither could have reasonably believed that

plaintiff had been in actual or constructive possession of any firearms.

      11.    After arresting plaintiff, defendants Deering and Junious

fabricated evidence, thereby causing plaintiff to be held in custody and

prosecuted for an offense. These acts include the creation of police reports

containing material false statements, including:

             a. That plaintiff had admitted to ownership of the weapons

                found in the illegal search; and


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            b. That a real estate agent had told defendants Deering and

                Junious that there may be weapons inside the dwelling.

      12.   As a result of the conduct of Deering and Junious, plaintiff

was deprived of his liberty and held in custody at the Cook County Jail

until late February of 2015 when he was released on a recognizance bond.

      13.   Thereafter, within one year of the filing of this lawsuit, all

charges against plaintiff were dismissed.

      14.   As a result of the foregoing, plaintiff was deprived of rights

secured by the Fourth and Fourteenth Amendments and subjected to a

malicious prosecution under Illinois law.

II. Claims Related to Plaintiffs Property

      15.   At the time of his above-described arrest, plaintiff was in

possession of a wallet, which contained government issued identification, a

cellular phone, and a necklace.

      16.   At the time of plaintiff’s above described arrest, Illinois law,

as set out in 20 Illinois Administrative Code 720.25(h), required that all

personal property taken from an arrestee, other than items seized as

evidence of a crime, shall be returned to the detainee upon his (or her)

release from the custody of the arresting agency.

      17.   At some time before plaintiff’s above-described arrest,

defendant City of Chicago adopted an express policy to disregard the


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provisions of 20 Illinois Administrative Code 720.25(h) and to retain in the

property inventory system of the Chicago Police Department certain

categories of an arrestee’s personal property after releasing the arrestee

to the custody of the Sheriff of Cook County.

      18.   The categories of an arrestee’s personal property retained by

defendant City of Chicago include wallets, cellular phones, and necklaces.

      19.   The above-described express policy directed Chicago police

personnel to destroy all arrestee personal property that was not claimed

within 30 days of arrest.

      20.   After adopting the above-described policy and before

plaintiff’s arrest, defendant City of Chicago learned that it was destroying

a large amount of arrestee personal property because many arrestees held

in custody at the Cook County Jail were unable to arrange for their

property to be retrieved from the Chicago police department.

      21.    In accordance with the above-described express policy of

defendant City of Chicago, defendants Deering and Junious took custody

of plaintiff’s wallet, cellular phone, and necklace and caused them to be

stored in the Chicago Police Department property inventory system.

      22.   Chicago police personnel transferred plaintiff to the custody of

the Sheriff of Cook County the day after his arrest.




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      23.   Plaintiff was unable to leave the Jail to retrieve his personal

property from the Chicago police department and was unable to engage a

third person to travel to the Chicago police department to retrieve his

property.

      24.   As required by the above-described express policy, defendant

City of Chicago destroyed plaintiff’s wallet, cellular phone, and necklace.

      25.   As a result of the foregoing, plaintiff was deprived of rights

secured by the Constitution of the United States.

      26.   Plaintiff hereby demands trial by jury.

      WHEREFORE plaintiff requests that appropriate compensatory

damages be awarded against all defendants and appropriate punitive

damages be awarded against defendants Deering and Junious.

                                   /s/ Joel A. Flaxman
                                       JOEL A. FLAXMAN
                                       ARDC NO. 6292818
                                       KENNETH N. FLAXMAN
                                       200 S Michigan Ave Ste 201
                                       Chicago, IL 60604-2430
                                       (312) 427-3200
                                       Attorneys for Plaintiff




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